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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA

Matthew A. Smith,                       )
                                        )
                Plaintiff,              )       ORDER
                                        )
        vs.                             )
                                        )
HSS,                                    )       Case No. 1:20-cv-224
                                        )
                Defendant.              )


        Plaintiff initiated this action pro se and in forma pauperis on December 7, 2020, asserting

claims against his apparent employer for discrimination and negligence. (Doc. Nos. 1 and 4). Judge

Traynor subsequently referred this matter to the Magistrate Judge for initial review pursuant to 28

U.S.C. § 1915(e)(2).

        On December 22, 2020, I issued a report recommending that this action be dismissed without

prejudice for lack of personal jurisdiction given that plaintiff and defendant have no discernable

connection to this district and the conduct at issue is not alleged to have occurred in this district.

(Doc. No. 6). Plaintiff’s response to the report and recommendation is due by January 11, 2021.

        On January 7, 2021, Plaintiff filed a “Motion for Stay of Execution.” He requests that this

matter be stayed indefinitely while he gets his finances in order, assembles his case, and searches

for legal representation.

        For the reasons I articulated in the report and recommendation, courts in this district lack

personal jurisdiction. Staying this matter indefinitely is unlikely to benefit plaintiff. Rather, it could

arguably be to his detriment given his limited means and reality that his chances of persuading this

court that is has personal jurisdiction are beyond remote. His energies and resources are better spent


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in a district where a court would have personal jurisdiction. Accordingly, plaintiff’s request for a

stay (Doc. No. 7) is DENIED. As it unlikely that plaintiff will receive notice of this decision until

well after his deadline for objecting to the report and recommendation has lapsed, his deadline for

filing such objections shall be extended until January 25, 2021.

       IT IS SO ORDERED.

       Dated this 11th day of January, 2021.

                                                      /s/ Clare R. Hochhalter
                                                      Clare R. Hochhalter, Magistrate Judge
                                                      United States District Court




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